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                               IN THE UNITED STATES DISTRICT COURT
                                FOR THE MIDDLE DISTRICT OF FLORIDA
                                          TAMPA DIVISION

   LINDA KLEWINOWSKI, an
   individual, on behalf of herself
   and all others similarly situated,

                  Plaintiff,
                                                      Case No. 8:13-CV-1204-T-33-TBM
   vs.

   MFP, INC. d/b/a FINANCIAL CREDIT
   SERVICES

               Defendant.
   _______________________________/


         JOINT MOTION FOR PRELIMINARY APPROVAL OF CLASS ACTION
                        SETTLEMENT AGREEMENT

           Plaintiff LINDA KLEWINOWSKI, an individual, on behalf of herself and all others

   similarly situated, (“Plaintiff”) and Defendant MFP, Inc. d/b/a FINANCIAL CREDIT

   SERVICES. (“Defendant”) jointly request that the Court approve a proposed settlement

   pursuant to Rule 23 of the Federal Rules of Civil Procedure, approve the attached Class

   Notice, and approve the proposed publication method of the Class Notice. The grounds

   supporting this motion are set forth in the following Memorandum.

                                    NATURE OF THE CASE

           Plaintiff is an individual consumer. Defendant is a third party debt collector. Part

   of Defendant’s business involves the collection of consumer medical debts from Florida

   residents. Defendant attempted to collect such debt from Plaintiff. Plaintiff contends that

   in attempting to collect consumer debts from her and the Class she seeks to represent,
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   Defendant violated the Fair Debt Collection Practices Act (“FDCPA”) because the

   language contained on certain letters indicating “YOUR CREDITORS” was misleading

   and confusing to the “least sophisticated consumer.”          Defendant denies Plaintiff’s

   allegations and asserts, inter alia, that the written communication is not in violation of the

   provisions of the FDCPA, and, in the alternative, if it was a violation, the conduct was

   unintentional and resulted from a bona fide error, notwithstanding the maintenance of

   procedures reasonably formulated to avoid the violation.

          Plaintiff and Defendant seek to settle this matter and have executed the attached

   Settlement Agreement seeking a resolution pursuant to Fed R. Civ. P. 23(b)(2) and (b)(3)

   that would permit recovery of cy pres and voluntary equitable relief for the Class and

   permit members to opt out of the class settlement should they desire not to be bound by

   the terms of the settlement. The basis for this request is that the U.S. Congress has set

   limits on the class liability in FDCPA cases such that class members could not receive

   more than a de minimus recovery from the litigation of this case.

                     JOINT MOTION TO APPROVE SETTLEMENT

          Plaintiff and Defendant jointly move that the Court approve the Settlement

   Agreement attached as Exhibit 1 and, the terms and conditions contained therein. The

   Parties also seek the Court’s review of the proposed language of the Class Notice which

   is attached hereto as Exhibit 2. The Parties also seek approval of the method of

   publication of that notice. Movants hereby stipulate that any failure of the Court to

   approve the settlement shall not operate as a waiver of the claims or defenses of any of

   the parties on the issue of liability at any future contested hearing. With the Court’s
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   permission, a proposed Preliminary Approval Order in the form attached as Exhibit 3 to

   the Settlement Agreement will be separately provided to the Court.

                                 NATURE OF SETTLEMENT

          The parties have agreed to a settlement of this suit on a Florida class-wide basis.

    The essential terms of the settlement are set out in the Settlement Agreement attached as

    Exhibit 1. The Settlement provides substantial benefits to the Class and is fair,

    reasonable, and adequate in light of the relevant facts, the applicable law, and the

    potential value of the settlement to the Class.

          Subject to the terms of the Settlement Agreement, Defendant agrees to provide

   the following relief to Plaintiff and the Class:

          A.      Defendant shall pay to the Bay Area Legal Services as a cy pres

                  distribution on behalf of the Class the total sum of $17,758.20, which

                  represents 1% of the Defendant’s net worth as of December 31, 2012.

          B.      Defendant will also pay Plaintiff for her individual claim the total amount

                  of $1,000.00 in consideration of Plaintiff’s service to the Class.

          C.      Defendant shall bear the costs of notice and class administration.

          D.      Defendant will pay Class Counsel their reasonable attorney’s fees,

                  expenses, and costs, as approved by the Court.

          E.      Defendant will provide voluntary equitable relief to the Class. Defendant

                  has agreed to voluntarily modify the language in the subject letters.

                  Defendant has agreed to implement modifications to the language of its
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                  collection letters as of May 15, 2013 sufficient to address the issue raised

                  by this case.

          Counsel for Plaintiff and Defendant represent to the Court that the proposed

   settlement agreement was reached through arms-length negotiations between the parties

   and that Class Counsel are able and experienced attorneys who are qualified to evaluate

   the proposed Settlement Agreement on behalf of the Class Members.

          A copy of the proposed Class Notice, which is to be published in a newspaper

   with a state-wide distribution in the State of Florida (the parties have selected the two (2)

   regional USA Today newspapers), is attached hereto as Exhibit 2.             That notice is

   sufficient to inform Class Members regarding: (a) the formation of the Class; (b) the

   Class definition; (c) the terms of the proposed settlement; (d) the proposed award of

   attorney’s fees and expenses to Class Counsel; (e) Class Members’ right to object to and

   to opt out of the proposed Settlement; (f) the time and date of the Fairness Hearing; and

   (g) Class Members’ right to appear at the Fairness Hearing in favor of or in opposition to

   the proposed Settlement. The Class Notice is written in plain English in a manner

   reasonably calculated to allow Class Members to participate in the settlement. The

   Notice provides Class Members with sufficient information to make an informed decision

   to object to any aspect of the proposed Settlement. Defendant will publish the Notice as

   set forth in the Settlement Agreement or, if they find that doing so will be more cost

   effective, retain an independent claims administrator to do so.
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                                          FINAL ORDER

             At the final Fairness Hearing, Movants anticipate presenting a final order giving

   effect to the Settlement and dismissing with prejudice all claims of any purported Class

   Members who have not been excluded from the Class. Upon confirmation of the

   settlement at the Final Fairness Hearing, the proposed final order will release Defendant

   of all liability to the Class for the Released Claims and will enjoin Class Members from

   pursuing or filing suit upon the Released Claims.

                                          CONCLUSION

             For these reasons, Plaintiff and Defendant respectfully request that the Court enter

   an Order granting Preliminary Approval of the terms and conditions of the attached

   Settlement Agreement and approving the form and publication method of the Class

   Notice.


   Respectfully Submitted,


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                               CERTIFICATE OF SERVICE

          I hereby certify that on September 10, 2013, I electronically filed the foregoing
   with the Clerk of Court by using the CM/ECF system.


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